 

Case 3:22-cv-02174-K-BT Document 15 Filed 11/10/22 Page1of9 PagelD 66

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 3:22-cv-02174-C

 

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any) 4 plo lw yf JN) Vigln. eat LL G

was received by me on (date)

© I personally served the summons on the individual at (place)

 

on (date) ; or

 

© I left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

© I served the summons on (name of individual) , who is

designated by law to accept service of process on n behalf of ame efonsetiniilon)

 

on (date) > or

 

© J returned the summons unexecuted because ;or

bre imsn Condit) hws! P20. Sot UF
IN OK Hh Myre 757 68

My fees are $ for travel and $ for services, for a total of $ 0.00

 

I declare under penalty of perjury that this information is true.

Server’s signature

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Printed name and title

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Server's address

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Additional information regarding attempted service, etc: US DISTRICT COURT

NORTHERN DISTRICT OF TEXAS
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NOV 1 0 2022

 

 

 

CLERK, U.S. DISTRICT COURT
By
Deputy

 

 

 

 
Case 3:22-cv-02174-K-BT Document 15 Filed 11/10/22 Page 2of9 PagelD 67

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on (date) ; or

 

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I declare under penalty of perjury that this information is true.

Date: dw /- PLA fp Wl Dory ley: Clty

” Server's signature

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Printed name and title

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Server's address

Additional information regarding attempted service, etc:

 

U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
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CLERK, U.S, DISTRICT COURT
By.
Deputy

 

 

 
Case 3:22-cv-02174-K-BT Document 15 Filed 11/10/22 Page 3o0f9 PagelD 68

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designated by law to accept service of process on behalf of (name of organization)

 

on (date) 3 or

 

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70-200 PRU Park Cle- Jut 16
hu dvin te 7287

My fees are $ for travel and $ for services, for a total of $ 0.00

 

I declare under penalty of perjury that this information is true.

Date: / 2 ‘2 y- LOS) “Pak borg fas CLE rg

Server's signature

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Pana name and title

SE ID adn cA, Y Mott Jo7 70h

Server's dddress

Additional information regarding attempted service, etc:

 

U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

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CLERK, U.S. DISTRICT COURT
By
Deputy

 

 

 
Case 3:22-cv-02174-K-BT Document15 Filed 11/10/22 Page 4of9 PagelD 69

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My fees are $ for travel and $ for services, for a total of $ 0.00

 

I declare under penalty of perjury that this information is true.

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Server's signature

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Priel name and title

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Rerver ’s address

 

U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

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Additional information regarding attempted service, etc:

 

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CLERK, U.S. DISTRICT COURT
By.

 

Deputy

 

 
Case 3:22-cv-02174-K-BT Document 15 Filed 11/10/22 Page5of9 PagelD 70

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My fees are $ for travel and $ for services, for a total of $ 0.00

 

I declare under penalty of perjury that this information is true.

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Date: 4 OF) = of L- “Pap! Orso ler CG) NY

Server's signature

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Printed name and title

FBI Do byhay 0417 How pov Lh 27%

Server's address

 

Additional information regarding attempted service, etc: eee eel COURT
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CLERK, U.S. DISTRICT. COURT
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Deputy

 

 

 

 

 
   

Case 3:22-cv-02174-K-BT Document 15 Filed 11/10/22 Page6of9 PagelD 71

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on (date) ; or

 

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0-6 5/128) Pot a] Jeni
Loy Angktlel la 76081 4P0O7 .

My fees are $ for travel and $ for services, for a total of $ 0.00 .

 

I declare under penalty of perjury that this information is true.

Date: Z © -7 | ~202ZL 1 avl-Yog lef Cz lade

Server’s signature

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Printed name and title

 

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fy Server's address

 

ws ‘ : : : ‘ U.S. DISTRICT COURT
Additional information regarding attempted service, etc: NORTHERN DISTRICT OF TEXAS

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CLERK, U.S. DISTRICT COURT

By lY
Deputy

 
Case 3:22-cv-02174-K-BT Document 15 Filed 11/10/22 Page 7of9 PagelD 72

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FE Wolk, ae #2,
This summons for (name of individual and title, if any) 2 prtyel

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© I personally served the summons on the individual at (place)

 

on (date) 3 or

 

© I left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

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on (date) ; or

 

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My fees are $ for travel and $ for services, for a total of $ 0.00

 

I declare under penalty of perjury that this information is true.

Date: /o~5 /-l ogy Povl - Coy joy * CLE

Server ’s signature

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Printed name and title

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7 Server's address

 

Additional information regarding attempted service, etc:

 

U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

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CLERK, U.S. DISTRICT COURT
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Deputy

 

 

 

 

 
 

Case 3:22-cv-02174-K-BT Document 15 —Sulegui EL).

UNITED STATES
Ea POSTAL SERVICE.

JENSEN DRIVE

3520 JENSEN DR
HOUSTON, TX 77026-9998

(800) 275-8777

10/03/2022 10:35 AM
Product Qty Unit Price
Price
Priority Maile 1 $9.90

Flat Rate Env
Calabasas, CA 91302
Flat Rate
Expected Delivery Date
Thu 10/06/2022

Tracking #:
9505 5130 1992 2276 4049 54
Insurance $0.00
Up to $100.00 included
Total $9.90
Priority Mail® 1 $9.90

Flat Rate Env
Moorpark, CA 93021
Flat Rate
Expected Delivery Date
Thu 10/06/2022

cking #:
9505 5130 1992 2276 4049 61
Insurance $0.00
Up to $100.00 included
Total $9.90

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Grand Total: $19.80

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Cash $50.00
Change ~ $30.20
Text your tracking number to 28777 (2USPS)
to get the latest status. Standard Message
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visit www.usps.com USPS Tracking or cal!
1-800-222-1811.
Save this receipt as evidence of
insurance. For information on filing an
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or cal) 1-800-410-7420.

 

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POSTAL SERVICE.

JENSEN DRIVE

3520 JENSEN DR
HOUSTON, TX 77026-9998

(800) 275-8777

10/03/2022 10:23

Product aty Unit Pr
Price

Priority Mailé 1 $9

Flat Rate Env
Fort Worth, TX 76131
Flat Rate
Expected Delivery Date
Wed 10/05/2022
Tracking #:
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Sm Flat Rate Env
Fort Worth, TX 76131
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Insurance $0.
Up to $100.00 included
Total $9.
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Austin, TX 78750
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Insurance $0.
Up to $100.00 included
Total $9.
Priority Mail® 1 $9.
Sm Flat Rate Env
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Expected Delivery Date
Wed 10/05/2022
Tracking #:
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Insurance $0.
Up to $100.00 included
Total $9.
Priority Mail@ 1 $9.
Sm Flat Rate Env
Waxahachie, TX 75168
Flat Rate
Expected Delivery Date
Wed 10/05/2022
Tracking #:
9505 5130 1992 2276 4049 30 *
Insurance $0.
Up to $100.00 included
Total $9
Grand Total: $49
Cash $100

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Case 3:22-cv-02174-K-BT Document 15 Filed 11/10/22 Page 90f9 PagelD 74

 

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UNITED STATES
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